                             Case 2:23-cv-00717-JXN-JSA Document 1-1 Filed 02/08/23 Page 1 of 3 PageID: 13
                                                          Exhibit A to the Complaint
Location: Little Falls, NJ                                                                               IP Address: 68.193.166.113
Total Works Infringed: 24                                                                                ISP: Optimum Online
 Work       Hashes                                                               UTC              Site          Published    Registered   Registration
 1          Info Hash: C587D7D844493811E67C3945D6E504448A44CB6D                          01-11-   Blacked       01-09-2023   01-27-2023   PA0002393075
            File Hash:                                                                     2023   Raw
            7B714CAD15B786523D93C122093E98271320F0BCEAB417C3CA9711C2300F1AB3           23:04:57
 2          Info Hash: A644959E99A7E9119D745BCF028B01D155D8E6BC                          12-29-   Blacked       12-25-2022   01-09-2023   PA0002389598
            File Hash:                                                                     2022   Raw
            E26E8A8914EDC7C0A8189EFB81D5E956905E268BD41E04DDF52599D4C43B5EFD           00:58:18
 3          Info Hash: 97DCF54C3B73D6BBDE490D88743A0C7DA092825E                          12-22-   Blacked       12-20-2022   01-09-2023   PA0002389608
            File Hash:                                                                     2022   Raw
            11C2339FD910A4AB8D4A9F3CA3B45EE159ECA49E9EB522347DDD4662AC879B43           19:53:26
 4          Info Hash: 43EED9CE8E5D6617A4583D8D2CBFC70C077744CD                          12-22-   Blacked       11-15-2022   12-11-2022   PA0002384724
            File Hash:                                                                     2022   Raw
            575ABAA65CDDDCEB4338CA4315340EB9779E202370B4B726C38F5AB8924F3233           19:42:48
 5          Info Hash: 2D42055181038F36B661B01848EF6CF8A28EAA23                          12-08-   Blacked       12-05-2022   01-10-2023   PA0002389624
            File Hash:                                                                     2022   Raw
            045317AD4FD00A7A5645605910781548B559AB18C5861778A3DB0EEC94207C3F           02:23:43
 6          Info Hash: 7DFD7054EC044D7382229CAC29482FF09B4A78B4                          11-02-   Blacked       10-31-2022   12-11-2022   PA0002384770
            File Hash:                                                                     2022   Raw
            BCDD15907FDBD565AE5238658FBD2C07E950E8AEA04D6FB530B337FD59252F27           23:21:27
 7          Info Hash: 5DAC4AD0ACDE6DE76F2ECB3D6B40F615984D1643                          10-26-   Blacked       12-25-2021   01-17-2022   PA0002330103
            File Hash:                                                                     2022
            3C36AED1205981717F56BEDC1871A31D650DCB9E3DD3824CDE9852D18350235D           22:02:01
 8          Info Hash: 15A55EBB3FD06FE9F9067812A0D0168440813B70                          10-26-   Blacked       10-21-2022   10-31-2022   PA0002377818
            File Hash:                                                                     2022   Raw
            4AAF11148C0E2CDFA98BABEEC2740D453CACED2CE62079EAE8D18A0C5E2E4BD7           04:39:43
 9          Info Hash: 03B6BB24DA9C4E80EA798BFC2896AF206AD038C5                          10-19-   Blacked       10-15-2022   11-01-2022   PA0002378073
            File Hash:                                                                     2022
            7677CE41C30DA090BB1E8AA6B71C9C9171E5A8A7E333B829865B315804350A16           01:03:30
 10         Info Hash: 258B938C8DB932BA26C6C13091AB699725DE4029                          10-11-   Blacked       10-01-2022   10-31-2022   PA0002377817
            File Hash:                                                                     2022
            5021FA9F75FFAE5AE30C79FEAC33A1296CEFCE229F032576EBFCD9407D8DA664           00:04:01
 11         Info Hash: 02B4F8C61194285E5B9B3AE3EF214BE78C41F271                          09-19-   Blacked       09-17-2022   10-05-2022   PA0002373760
            File Hash:                                                                     2022
            CED49D312F703F0E082E164ACB1A596D9ABE26A2F8876E5BD06818F49F119126           15:27:05
                       Case 2:23-cv-00717-JXN-JSA Document 1-1 Filed 02/08/23 Page 2 of 3 PageID: 14

Work   Hashes                                                             UTC         Site      Published    Registered   Registration
12     Info Hash: FBD6BBE7A5CC7FEB803A35B75EBE9C49312954B2                   09-12-   Blacked   10-02-2018   10-16-2018   PA0002127785
       File Hash:                                                              2022
       B673E68789BE530B8063FE9BDCFC751A2B8436C6D56685E00157F96405768839    19:45:54
13     Info Hash: 9CD7CFD962DE7804CF2507733B747EEB28B25D1E                   09-06-   Blacked   06-07-2021   06-15-2021   PA0002296926
       File Hash:                                                              2022   Raw
       CC3818D230E86A51A6697869E4F66F58703FCE9CA81ECB5782A8A652486993F1    05:32:33
14     Info Hash: 0DCAD5CD34D983D041D5DFFFCBE84AB849B55877                   09-01-   Blacked   08-27-2022   10-31-2022   PA0002377814
       File Hash:                                                              2022   Raw
       5CA26B5703389C3C514505A8D2191E29676BA81E777D3F071585FB71B5D6FDDE    00:40:10
15     Info Hash: 5F75B9CECC4F3FEEA7CE46BEDA2B70A0BA267B19                   08-25-   Blacked   06-21-2019   08-27-2019   PA0002213241
       File Hash:                                                              2022   Raw
       98CDC17BC4D0A858192F41FD54802AA61EC55EE5616632DC63F7F18150DC90BA    21:38:49
16     Info Hash: 1D44B95259442C3A9B0B9455C8C28A89AD369DE7                   07-27-   Blacked   07-25-2022   08-29-2022   PA0002367727
       File Hash:                                                              2022   Raw
       DF7B69C7949959ED563F5993AE5D903F8E7A90693CFE734430395BEB848221E5    19:39:55
17     Info Hash: AE7859A84B38AA3012FC54F8083DC7BB98EEA9CB                   07-12-   Blacked   07-09-2022   07-22-2022   PA0002359462
       File Hash:                                                              2022
       A8144653928B76356ECFE207ACB692A2DF407F16908E1A7C3BDC87A3E8829DE5    19:40:40
18     Info Hash: F32615CF72189CDD69E6151E4903AC651D3A7063                   07-09-   Blacked   07-04-2022   07-22-2022   PA0002359466
       File Hash:                                                              2022   Raw
       6891E3B37E52096A272BBC88EDD1A35D8021ED2711AB1A0858FAA335BDE45B8A    02:21:52
19     Info Hash: F81CE28FE9EBF38DDC6BD65EF545FE9D45AB0F5C                   06-30-   Blacked   06-27-2022   07-22-2022   PA0002359465
       File Hash:                                                              2022   Raw
       CFCA30A575EC682A41EEE611A1D5F88666A5ADE1DFE65CC761774D742A47CA7D    02:03:16
20     Info Hash: 7226757B46D7B4F0CDB9323574DFA7303A311143                   06-11-   Blacked   06-06-2022   06-27-2022   PA0002355038
       File Hash:                                                              2022   Raw
       3F65B49F299B32660A623D4D74D344AE0472C2685F7787B4F2F28FB99C254381    01:45:57
21     Info Hash: D70316B223A58E7A96123A8EB37CAE5DF0ACDB64                   06-04-   Blacked   02-05-2022   02-14-2022   PA0002335503
       File Hash:                                                              2022
       2AC3FEC454A28DC979BCAA5A0682B453AF715708C5FDA61F4DD3CF8718391E62    21:20:21
22     Info Hash: 1886519162C3C84528F05DF3EC3E4E21F17009AF                   05-05-   Blacked   05-02-2022   05-20-2022   PA0002350372
       File Hash:                                                              2022   Raw
       B1F2DBBFBC3F581592B4629731C676B1FB3EA9B7B11997BF0F6EDD6B202EAB84    04:33:06
23     Info Hash: 07E67BE388D71A80E890C9AED73D6B93FBB7EC82                   04-26-   Blacked   04-18-2022   04-23-2022   PA0002346421
       File Hash:                                                              2022   Raw
       3CC6461BB4E2CED5A2BAF587DE350F4FFD65C241D6797C506E7A673D2A35069D    00:44:39
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Work   Hashes                                                             UTC       Site      Published    Registered   Registration
24     Info Hash: 4FFEF2F34E795900B524ADB3A5D89A4870CCAE8C                   04-26- Blacked   04-11-2022   04-23-2022   PA0002346408
       File Hash:                                                              2022 Raw
       1254A343029B99DBBD44743FFDE118A8C3B0EEA55980D1E9B75886A0AC5B2653    00:44:27
